                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION

    Steven Vernon Bixby,                           )
                                                   )
                         Petitioner,               )
                                                   )      C/A No.: 4:17-mc-00138-BHH-TER
          vs.                                      )
                                                   )
    Bryan P. Stirling, Director, South             )       ORDER GRANTING MOTION TO
    Carolina Department of Corrections;            )           STAY EXECUTION
    Joseph McFadden, Lieber Correctional           )
    Institution,                                   )
                                                   )
                         Respondents.              )
                                                   )

         The petitioner, Steven Vernon Bixby (“Petitioner”), is a state prisoner sentenced

to death. This matter is before the Court on Petitioner’s Motion for Stay of Execution

and Appointment of Counsel (ECF No. 1).1 Respondents filed a response to the

pending motions on April 6, 2017 (ECF No. 9). Petitioner filed a reply on April 12, 2017

(ECF No. 11). Accordingly, the motion for stay is ripe for the Court’s consideration.

         Petitioner’s execution date has not yet been set. However, Petitioner states that

his execution is imminent. (ECF No. 1 at 1 n.1.) Respondents do not object to a stay in

this matter. (ECF No. 9 at 2.)

         A federal court has jurisdiction to stay state court proceedings when a state

prisoner sentenced to death applies for appointment of counsel pursuant to 28 U.S.C. §

3599. See 28 U.S.C. § 2251(a)(3); McFarland v. Scott, 512 U.S. 849, 858 (1994)

(“[O]nce a capital defendant invokes his right to appointed counsel, a federal court also

has jurisdiction under § 2251 to enter a stay of execution.”). As noted, Petitioner has


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 Also pending is Petitioner’s motion for leave to proceed in forma pauperis (ECF No. 2). A ruling on that
motion and Petitioner’s request for counsel will issue separately.
filed a request for appointment of counsel. (ECF No. 1.) Accordingly, this Court has the

authority to grant a stay of execution. Section 2251(a)(3) provides that the stay “shall

terminate” not more than ninety (90) days after the appointment of counsel or after the

application for appointment is withdrawn or denied.

      Having carefully reviewed the relevant authority, the Court finds that Petitioner

should be granted a stay of execution. The stay shall terminate ninety (90) days after

the appointment of counsel or after the application for appointment of counsel is

withdrawn or denied, as required by 28 U.S.C. § 2251(a)(3). Once Petitioner files his

habeas petition, he may move for an indefinite stay pending the outcome of his habeas

proceeding under § 2251(a)(1).

      Accordingly, the Court orders the following:

          (1) Petitioner’s Motion for Stay of Execution (ECF No. 1) is GRANTED. The

             stay shall expire ninety (90) days from the date counsel is appointed;

          (2) The Clerk of Court shall assign a civil action number to this case;

          (3) The Clerk of Court shall notify the undersigned to review the stay of

             execution twenty (20) days prior to the expiration of the ninety (90) day

             limit; and

          (4) This matter is referred to the assigned United States Magistrate Judge for

             all preliminary proceedings.

      IT IS SO ORDERED.

                                         /s/ Bruce Howe Hendricks__
                                         United States District Judge

April 12, 2017
Greenville, South Carolina



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